Case 1:24-cv-06563-LJL   Document 32-4   Filed 10/02/24   Page 1 of 2




           EXHIBIT D
8/29/24, 11:24 AM   Case
                    Case 1:24-cv-06563-MMG  Document
                         1:24-cv-06563-LJL Document     1-3
                                                     32-4
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                                                        Web Official     08/30/24
                                                                        10/02/24
                                                                     Records Search                                 Page 22 of
                                                                                                                    Page    of 22
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                                                                                                                           OR BK 35141 PG 1058
                                                                                                                           RECORDED 7/15/2024 12:47 PM
                                                                                                                           Palm Beach County, Florida
                                                                                                                           Joseph Abruzzo, Clerk
                                                                                                                           Pgs: 1058 - 1058; (lpgs)
                                                DECLARATION OF DOMICILE

               To the Clerk of the Circuit Court [Collllty Comptroller] Palm Beach                          Collllty, Florida.

               This is my declaration of domicile • . e State of Florida                 that I am filing this day in accordance and in conformity
               with Section 222.17 Florida Statutes.




                                                                                                Rudolph W. Giuliani
                                                                                                                  (print name)




                                                                                                                                      who is




                                                                                                     '   Signature of Notary Public        /J, I
                                                                                                   >~ f Al ti /4:,-kv,I"
                                                                                                             8                                 Y   i,jt.
                                                                                   Print, type or stamp commission named of Notary Public
                                                                         THE STATE OF FLORIDA:




                                                                               in _ _ _ _ _ _ _ _ County, Florida
               (street and number)                           (city)

               (Person making declaration may also include such other and further facts with reference to any acts done or performed by such
               person which such person desires or intends not to be construed as evidencing any intention to establish his domicile within the
               State of Florida.)



                                  (signature)                                                                    (print name)
              State of _ _ _ _ _ _ _ __
              Collllty of _ _ _ _ _ _ __

              Sworn to and subscribed before me this _ _ _ day of _ _ _ _~ _ _ by _ _ _ _ _ _ _ _ _ _ _ who is
              personally known to me or who has produced _ _ _ _ _ _ _ _ _ as identification and who did/did not take an oath.



                                                                                                     Signature ofNotary Public


                                                                                     Print tvnP nr <:t~mn rnmmk,:;nn n~mprf nfNnt~rv P11hlir

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